UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                          Case No. 22 Cr. 560 (CS)
          V.

FRANK BUTSELAAR,
                    Defendant.




     DEFENDANT FRANK BUTSELAAR'S SENTENCING MEMORANDUM




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                                                                             Admitted in NY & CT

                                                      Januaiy 30, 2025

BYECF
Hon. Cathy Seibel
United States District Judge
United States Comthouse
Southern District of New York
300 QuaiTopas Street
White Plains, NY 10601

               Re:      United States v. Frank Butselaar,
                        22 Cr. 560 (CS)

Deai· Judge Seibel:

       We submit this letter on behalf ofFrank Butselaar, who is scheduled to be sentenced before
Your Honor on Febrnary 13, 2025. On November 14, 2024, Mr. Butselaar entered a mid-trial plea,
pursuant to a plea agreement, to a single count of aiding and assisting in the preparation of a false
and fraudulent U.S. tax return, in violation of 26 U.S.C. § 7206(2), in connection with the 2013
Individual U.S. tax return on behalf of Nick van de Wall (Count Two of the Superseding
Indictment). He is scheduled to be sentenced by Your Honor on Febrnary 13, 2025.

                                                 I.

                      A Sentence of Time Served is Appropriate in This Case

        We respectfully submit that a sentence of time served is sufficient but not greater than
necessary in this case. Mr. Butselaar, who has been incarcerated for approximately 20 months
between two foreign countries, has been punished enough. A term of incarceration, which at most
would result in a few months of additional incarceration, will not further serve the goals of
sentencing. See 18 U.S.C. 3553(a)(2). At this moment, Mr. Butselaar is someone who has trnly
lost everything. His family's savings were depleted while defending his case in Italy. His wife,
Annemarieke Pesch, was forced to sell their primary residence in Amsterdam because they could
not pay the mortgage, and the bank threatened to seize it. Their home in Italy has been on the
market for months, and the sale proceeds are eaimarked to repay a substantial loan from a friend
that was used towards Mr. Butselaar's defense in Italy after their funds were exhausted. Ms. Pesch,
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who is an attorney, lost her job without explanation following Mr. Butselaar's anest and has been
living "rent-free" in a friend's house near the home she was forced to sell.

        Mr. Butselaar's separation from his closely knit family has had herut-wrenching
consequences for all of them. Since his a1Test in Italy, he has not only been separated from his
wife, their four grown children (Philip, Alessandra, Lara, and Timothy), his 90-yeru·-old mother,
his sister Mru·git, and his brothers-in-law - but he has not seen them or even been able to
communicate with them regulru·ly. 1 During the past year and a half, all of Mr. Butselaru·'s and Ms.
Pesch's children have been suffering from depression and required therapy. Bob de Bruin,
Alessandra Butselaar's prutner, writes that it has been "herutbreak:ing [ ... ] to see first     what
it did to [her] and the rest of his family [... ] [T]hey were a loving and nonnal family who just
wanted to be together to experience life [ .. .]." Ex. A-1. 2 All incarcerated defendants suffer from
being separated from their loved ones, but for Mr. Butselaar, it was exacerbated by his frunily' s
residency halfway across the world, their inability to visit, and the limited access to phone calls.

        Mr. Butselaar also had to endure the pain of his mother-in-law's passing mere weeks before
trial. They shared a close bond, and he had not seen her since March 2023. His own grief was
compounded by his inability to comfort his bereft wife. Ms. Pesch's brother, Jeroen, writes, "It is
heartbreaking that my mother died dllling his 'absence' without them having been able to speak to
each other. Still, however, Frank made the effo1t to wiite to her during her last weeks [ ... ] always
focusing on positive elements so that her worries would be less." Ex. A-2. Mr. Butselaar's own
mother is ClUTently 90 years old and suffers from high blood pressme. Her "biggest fear," Mr.
Butselaru·'s sister Mru·git writes, "is that she will never see him again." Ex. A-3. Cees Slings, a
fo1mer client and friend of 40 yeru·s, is sme that Mr. Butselaar "has enough friends who want to
take over his place in p1ison for hin1 [ ... ] even if it is only to give [him] the opportunity to be able
to put his loved ones, his family and his children in his arms again." Ex. A-4. Ms. Slings offered
"to be the first to register for such a replacement." Id.




1
  Mr. Butselaar has not seen his wife or children since late summer of 2023. He was unable to even speak to them for
nearly three months after being extradited to the U.S. because he could not call out to a Dutch phone number and Ms.
Pesch could not get access to the videoconferencing platfonn without first having to validate her Dutch passpo1t with
the embassy in Washington. D.C. In addition, Ms. Pesch was afraid to travel to the U.S. after the Dutch Ministry of
Foreign Affairs cautioned her that she could be arrested to put pressure on Mr. Butselaar.

2
 Letters that have been exceipted are attached as Exhibit A and individually numbered (e.g. A-#). Letters that have
not been excerpted are collectively attached as Exhibit B.

3 As of the date of this submission. Mr. Butselaar does not have the final Presentence Report ("PSR"). References to

the PSR are to the draft report dated January 8. 2025.
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friend, Job Smeltink: noted the decline m the several letters they exchanged during his
incarceration. Mr. Smeltink writes,

                  [W]e talked about the books we both like, about our shared passion
                  cooking, and about Ohis well-being. These letters show how much
                  life in prison has affected him both mentally and physically. In my
                  belie[f], he is going through extremely hard times and suffers to a
                  great extent. To me this situation in prison is ve1y extreme and does
                  no just[ice] to the kind man he is.

         Ex. A-5.



                     In July 2024, the Chaplain, Father Thor Vorontsov, submitted a letter to the
Comt of his own accord to "offer some insights" from his personal experiences with Mr. Butselaar.
Ex. A-6. He wrote that he has "come to know Frank as a person who is earnest and reflecting on
his circumstances" and that " [d]espite the challenges of his sihiation, he has shown a consistent
willingness to engage in programs that foster personal growth and rehabilitation." Id. Father
Vorontsov noted that Mr. Butselaar's "paiticipation in various group activities, especially those
geai·ed towards spiritual and emotional healing, has been commendable" and that "further
incarceration may not serve his rehabilitation [as] effectively[] [as a] supp01tive and stmctured
environment[.. .]." Id.

        Mr. Butselaar's reputation has suffered irreparable damage. In its pleadings, motions,
presentation at trial, and even to Probation, the government unrelentingly p01trayed Mr. Butselaar
as an W1Scrnpulous schemer who saved his clients tens of millions in taxes that were in reality
owed to the U.S. government solely to burnish his reputation as the "go-to guy" in the EDM
industry. Toe inability to effectively combat this depiction, which could not be farther from the
truth and is now memorialized in publicly available comt filings, was one of the most agonizing
aspects of engaging in Mr. Butselaar's defense. His former colleague, Ramona Vervuurt, recounts
how, in the Netherlands, Mr. Butselaar' s "case has been a nationwide media topic[,]" and observes
that the "reputation which he built diligently for all those years is broken." Ex. A-7.

        When he ultimately rehuns to the Netherlands, it will be to a daunting and uncertain future.
In Mr. Pesch's estimation, "In the Netherlands, Frank's life is over[.] [There is] nothing left of his
career, no home, no cai·, no money, no pride. I think [he] has suffered enough." Ex. A-2. His
daughter, Lara Nettehoven, laments, "We are all he has left. And even though that is the most
important thing in life, having your loved ones [ ... ] he has got a long way to go before becoming
happy again." Ex. A-8. Although Ms. Pesch has and continues to support Mr. Butselaar, the
repercussions she has suffered have taken a toll on their relationship. In addition to losing her home
and her job, she was doggedly pmsued by the Dutch media for comment on the case. She
endeavored to defend her husband's reputation and honor in response to their inquiries, only to
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learn that it rnffled the feathers of the U.S. prosecutors who suggested Mr. Butselaar had disclosed
protected information, which had never been the case.

        In addition to alleviating the distinct hardships that Mr. Butselaar has suffered and will
continue to suffer under continued confinement, a sentence of time served would account for credit
and conditions that Mr. Butselaar is not eligible for as a non-citizen. For example, if sentenced to
the statuto1y maximum of 36 months as a U.S. citizen, Mr. Butselaar would be eligible for transfer
to a halfway house at the time of this sentencing. As a non-citizen, however, he is ineligible for a
halfway house or home-confinement (typically available for up to 10% of the sentence) and will
likely remain in custody for the entire dmation of his sentence. Mr. Butselaar is also not eligible
for a facility with the lowest security designation (i.e., a federal prison camp) or other early-release
programs, all of which would be afforded to any similarly situated defendant who is a U.S. citizen.
Although, like all criminal defendants, Mr. Butselaar will be credited for good conduct time,
whether he can accrne First Step Act credits as a non-citizen is unclear. Even if he is able to do so,
he must first an-ive at the facility designated by the BOP, complete the "needs assessment" survey,
get a job, and put his name on the programs' wait lists. In sh01t , the avenues by which a defendant
typically receives credit against his te1m of imprisonment, in Mr. Butselaar 's case, will likely be
delayed by the processes and logistics within the BOP.

         There is also the likelihood that Mr. Butselaar will be transfe1Ted from the Westchester
County Jail to the Metropolitan Detention Center pending designation if sentenced to any term
beyond of incarceration. The unabated hoITors of the MDC, well-documented in comt rnlings,
filings, and the media, have even resulted in comts turning to alternatives rather than sending the
defendant to endure the conditions there. See, e.g., United States v. Chavez, 22-CR-303 (JMF),
2024 WL 50233, *9 (S.D.N.Y. Jan. 4, 2024) (allowing defendant subject to mandat01y detention
to remain out on bail pending sentence due to the "grim conditions" at the MDC), United States v.
Colucci, 23-CR-417 (GRB), 2024 WL 3643857, *7 (E.D.N.Y. Aug. 5, 2024) (imposing home
confinement even though statuto1y factors indicated that a sentence of incarceration was wan-anted
due to risk that the defendant would be sent to the MDC).

        Mr. Butselaar has already suffered disprop01tionate punishment relative to others involved
in the government's alleged conduct and to similarly situated defendants in other prosecutions.
After more than a year of litigating this matter, including a substantial presentation of evidence
and argument by the government, one fact is iITefutable. Many people were in Mr. Verwest's and
Mr. van de Wall's advis01y orbit, and none have had to face allegations of criminal misconduct.
Alleged co-conspirators who, by the te1m s of their engagement letters with the clients, were
responsible for ensuring proper U.S. tax filings not only avoided criminal charges but have
continued to process tax returns for clients to this ve1y day. Mr. Ve1west and Mr. van de Wall
continue to have immensely profitable professional careers. To paraphrase Omar Little in The Wire
(and "The Farmer in the Dell"), Mr. Butselaar is "the cheese stand[ing] alone" in te1ms of
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punishment. It is impossible to ignore the reality that Mr. Butselaar alone has suffered sanctions
due to the government's prosecution of this matter. 4

                                                        II.

                              Mr. Butselaar's History and Characteristics

         A. Personal Background and Professional Life

        Well before his first encounter with a deejay, Mr. Butselaar had already established a word-
of-mouth reputation as a "go-to" advisor for aiiistic professionals, though for reasons antithetical
to the government's characterization at trial. Mr. Butselaar was well-known for his impeccable
and tireless work, exceptional knowledge of media and ente1iainment, and dedication to his clients,
who were primarily musicians, fashion models, and designers - industries associated with
exploiting their "talent." He was also known for his wann manner and "father-like" nature or, as
one fonner client describes him, "the uncle eve1yone would like to have." As the thirty-seven
letters of support attest, Mr. Butselaar deeply invests his time and energy into his inte1personal
relationships, whether with clients, colleagues, family, or friends. Many letters ai·e from friends he
has had since university, who ai·e pali of a group he continued to see weekly for a few rounds of
squash and dinner. As a culina1y enthusiast, he prefers to socialize over a meal, usually one he has
carefully planned and prepared, and he is uniformly described as a "family man" in the truest
sense. When he's not spending time with fainily, he is likely talking about them to one of his many
close friends from university, with whom he gathered weekly.

         Mr. Butselaar, now 65, was born in Haarlem, a city near the sea in Nmih Holland,
approximately 12 miles west of Amsterdam, to Hans Butselaar and Margareth (nee Kelder). He
has one sibling, his sister Margit, approximately five years his junior. Hans had a career in the
book printing business, and Margareth worked for an agency that found retail buyers for high-end
'pret a porter ' fashion brands. Hans and Margareth had a good relationship with each other and
their children. Mr. Butselaar was an independent and self-possessed child. After taking the
placement exam in prima1y school, he attended a "first-tier" school in the Netherland's five-tier
high school system. He developed a passion for field hockey and had natural skills futiher
enhanced by his fervor for the spmt. In addition to playing for his school, he joined a club team
and was invited to compete internationally for one year. He trained three evenings each week plus
weekends, coached youth teams, and held aspirations of playing professionally.

        At 18, Mr. Butselaar emolled at the University of Leiden and continued to compete in field
hockey. The University was divided into six-year programs for law, math and science, economics,
and histo1y, and he graduated with a degree in tax law. The University of Leiden had several social
groups, including "annual clubs" of 15 students in the same year of school and larger mixed-year


4
 This is not an ai·gument that Mr. Butselaar pressed before or during trial. Quite to the contra1y, Mr. Butselaar has
never voiced the desire to see any other person subject to prosecution. As we noted in our opening argument, Mr.
Butselaar did not intend to "point the finger" at anyone else at trial or othe1wise.
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fraternity houses. Mr. Butselaar still maintains close relationships and frequent contact with his
"annual" and "house" brothers.

        In 1985, dming his final year at university, Mr. Butselaar sta1ied working as a trainee tax
lawyer for the Amsterdam office of a large accounting fnm, Coopers and Lybrand ("C&L"). He
was offered a full-time position after he graduated. C&L sponsored Mr. Butselaar's continued
professional education to become a "tax lawyer" through the Dutch Tax Bar Association. Mr.
Butselaar spent the first two years of the program as a graduate student and an additional three to
four years as a teacher. C&L subsequently merged with the "more sophisticated" firm
PricewaterhouseCoopers ("PWC"), where Mr. Butselaar staited to learn about intellectual prope1iy
rights while advising a large pha1maceutical company.

        After approximately 20 years at C&L/PWC, Mr. Butselaar joined the Amsterdam office of
Greenberg Traurig, which had been sta1ied by several fo1mer PWC tax and legal pa1iners, and
sta1ted to take on ente1tainment clients. His first were two Dutch television production companies,
one of which, John de Mol Produkties, became ve1y successful in producing reality television
series across Europe. John de Mol's sister, Linda, was a well-known television personality and
hosted several Dutch shows. Ms. de Mol also became Mr. Butselaar's client, and he represented
her for over a decade. During that time, Ms. de Mol became a household name and was offered
gigs across European borders. Mr. Butselaai· navigated different taxation systems and became
well-versed in the complexities and pitfalls of earning international income, particularly the risk
of double taxation.

        Mr. Butselaar' s tax advis01y practice evolved to include fashion models and musicians -
individuals who, in addition to paying taxes in multiple countries, typically keep only a po1i ion of
their contract income after agents and promoters take their percentage cuts. The fashion models,
in pa1ticulai·, were young and had little understanding of their finances or how to protect them. His
sister, Margit Roem, recollects that they "were usually young girls who lived alone for example in
Paris," but who knew that if "they had a hai·d time, they could call Frank[,] [e ]ven during his
vacation." Ex. A-3. Ms. Roem remembers that "[a] model herself told me what a huge suppo1t
Frank [ ...] had been. He was like a father for her." Id. Mr. Butselaar often worked closely with the
parents, siblings, and other family members for the models (as the Comi may recall from the trial
testimony), given their youth and understandable lack of experience in navigating the fashion
world. Although these engagements were not typically very profitable by law fnm standai·ds, Mr.
Butselaai·took seriously his responsibility to protect his clients fmancially and plan for their future,
especially given the typically short shelf life of a fashion model's cai·eer.

        Andre Smits, a private banking colleague who worked with Mr. Butselaar on investment
management and financial planning for several clients, writes that Mr. Butselaar's "focus [was]
always [ ...] on helping others navigate the complexities of financial systems responsibly" and that
he "always prioritized transparency and ethical conduct." Ex. A-9. Mr. Smits "came to respect him
for his integrity and professionalism[,]" adding that Mr. Butselaar's "dedication to providing
lawful, sound fmancial advice was evident in all our interactions, as was his genuine desire to act
in the best interests of his clients." Id. Anton Eikhout, who also works in private banking and has
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known Mr. Butselaar for 15 years, recounts when Mr. Butselaar enlisted him to manage the assets
of a foimer client, who was then elderly and suffeling from dementia. Ex. A-10. Mr. Butselaar had
been working to dissolve a tlust holding the client's assets because the tlust office would not
release funds to the client's care home. Id. Mr. Eikhout recalls Mr. Butselaar telling him that " [i]t
was one of [his] first clients many years ago" and that even though he spent a lot of his time on
the case without being paid, "he felt responsible for his old clients where nobody seemed to look
after hin1." Id.

        Ilja Visser, a Dutch haute couture designer, describes herself as "a creative person with no
business skills at all" when she was intI"oduced to Mr. Butselaar by a mutual friend. Ex. A-11. Ms.
Visser, who writes that Mr. Butselaar advised her on different matters from "the moment [he] was
intI"oduced to [her]," writes: "Frank saw me stumbling and took the role of father/advisor. He has
helped me for years. I could call him day and night to ask for his advice. He always made time for
me; he never told me he was too busy." Id. Another fashion designer client, Monique Collignon,
recalls that Mr. Butselaar impressed her as a "veiy honest and down-to-eaith [ . .. ] a veiy
sympathetic gentleman" when she sought his advice in 2008. Ex. A-12. Ms. Collignon writes,

                 [h]e wanted to help me and assisted me wherever he could without
                 even sending an invoice. [ ...] Where else do you find that, that a
                 professional person offers such a helping hand? [ .. . ] [He] also put
                 me in touch with other people who could be impmtant for my work.
                 This is Frank in a nutshell, always connecting and never expecting
                 anything in return.

       Id. Ms. Collignon notes that she "could always go to Frank with a question or just to share
something with him for advice[,]" and she knew "a number of people in [her] professional
environment" shared the same sentiment. Id.

        Xenia Kasper, Ms. de Mol 's talent manager, who has been friends with Mr. Butselaar for
over 30 years, describes a similar experience: "Frank has always been there for eveiyone - both
on a business and a personal level - he is one of the few people who does not take advantage of
others, providing high-quality advice without [a] hidden agenda [ .. . ]." Ex. A-13. Ms. Kasper
recounts how "Mr. Butselaar worked pro-bono for one of my clients as she launched her own
charity, and advised another one of my clients on setting up her charity as well (again, also pro-
bono)." Id.

        Cees Slings is a composer, ananger, and producer for television and radio who became Mr.
Butselaar's client 40 years ago when he was still employed at PricewaterhouseCoopers. Ex. A-4.
Ms. Slings writes that Mr. Butselaar's "reliability and meticulousness in all respects" was of
"[g]reat significance" to her over the years, such as when she was hired to compose and produce
music on-site for a long-rnnning Geiman drama selies for seven years. Id. Mr. Butselaar worked
directly with the Geiman tax authorities in advance to "create[] a clear and ti·ansparent image for
both [Dutch and Geiman] tax authorities." Id. Ms. Slings also describes how Mr. Butselaar advised
some of her colleagues "for nothing" and offered to assist her neighbor after she learned that her
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recently deceased husband had a tax liability, noting that he "never sen[t] any invoices ifhe could
help someone in trouble with his specific knowledge." Id.

        This was not simply Mr. Butselaar's "client-facing" persona. As a shareholder at
Greenberg Traurig, Mr. Butselaar worked closely with his fellow shareholders. 5 He was a dutiful
corporate citizen, collaborating with his colleagues and offering his international tax expertise to
the film's many c01porate clients. Esther Tissen, Mr. Butselaar's colleague at Greenberg, writes,
"Frank has always been one of those colleagues and business paitners who has shown respect,
politeness, and support. These are qualities that should be normal but unfortunately, ai·e not always
found in our profession." Ex. A-14. Ms. Tissen adds that even after she left Greenberg to sta1t her
own tax advis01y firm in 2009, she maintained a professional relationship with him simply
"because of the person he is." Id.

        Astrid van Wijnbergen sta1ted working at Greenberg Traurig after she finished her
university studies in 2006, and Mr. Butselaar became her "first employer." Ex. A-15. Ms. van
Wijnbergen's best friend had recently passed away, and she recalls that "[b]alancing the challenges
of a first job with the grief of such a personal loss was very difficult[.]" Id. She writes that Mr.
Butselaar's "understanding, patience, kindness and support helped [her] navigate through a
working life and deal[] with great loss." Id. Ms. van Wijnbergen adds that she has "learned an
extraordinary amount" from Mr. Butselaar over the 27 years that they have worked together. Id.
She believes he "has a big heait" for his clients and characterizes the advice that he gave them as
"always generous and thoughtful, not out of self-interest but because he genuinely cai·ed for their
well-being." Id.

         Isabel Wijffels, an intellectual prope1ty lawyer and General Counsel of a Dutch biotech
company describes herself as "passionate about [her] job and about helping people," which is why
she felt a connection to Mr. Butselaar when they worked together at Greenberg. Ex. A-16. She
relates that Mr. Butselaar was "a hai·d-working, kind and modest colleague who felt strong[ly]
about the quality of his work and advising his clients in a professional way." Id. Ms. Wijffels, who
notes that Mr. Butselaar "was regarded as a highly valued colleague" at Greenberg, also credits
him with helping her navigate a "challenging relationship" with another partner, which allowed
her to "regain[...] confidence to do [her] job the best [she] could and [ .. .] to trust in [her] own
judgment [ . .. ] ." Id. Ms. VervuUit had a similar experience working for Mr. Butselaai· 20 years ago
and "will never forget the positive impact" he made in her life. Ex. A-7. Ms. Vervuurt writes, "He
entrusted me with his work and patiently took the time to teach me the fundamentals about our
tr·ade. He took me to meetings with the tax authorities to gain experience and we dove together
into tax technical matters [ .. .]. He was [ . ..] not afraid to be critical if my work was not up to par[,]
[but] did this in such manner that it was building my knowledge and self-esteem." Id.




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    "Shareholder" is Greenberg Traurig' s designation for their "partners" or senior tier of attorneys and tax lawyers.
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        B. Mr. Butselaar's Deep Connection to His Family

        To better understand the profound despair Mr. Butselaar has endured from the complete
separation from his family, it is helpful to know how central his family relationships are to him.
The prospect of reuniting with his family has been his one constant source of hope.

         Mr. Butselaar met Ms. Pesch in 2006, and they manied in 2011. Together, they have what
Ms. Pesch calls a "happy composed family" because they each have children from prior mauiages
who "like each other [ ...] [and] feel like real brothers and sisters[.]" Ex. A-17. Mr. Butselaar and
his first wife went through a difficult divorce in 2004 after she sta1ted a relationship with another
man. Following their separation, their son Philip and daughter Alessandra, who were
approximately 10 and 7 at the time, resided primarily with their mother, which Alessandra
observed "was ve1y hard" on her father. Ex. A-18. Ms. Butselaar remembers that when they were
with him, he " [made] sure [they] would spend eve1y second of that weekend together." Id. She
recalls that whether it was " [c]ooking together, doing groceries, going to [her] brother's hockey
game, [or] watching movies together [ ... ] I enjoyed eve1y second of it," adding that her father "had
the ability to even make the smallest activity something fun [,] [w ]hich is something I also aspire
to do in life." Id.

        Ms. Pesch, who w1yly obse1ves that Mr. Butselaar is "a wonderful person[,] othe1wise I
wouldn't have manied him[,]" writes that she "feels very blessed" for the close bonds that their
children share. Ex. A-17. She describes her husband as "a very loving and caring person, for me,
for our parents, and for friends and acquaintances." Id. Ms. Pesch's daughter, Lara Nettekoven,
and son, Timothy Nettekoven, are of similar ages to Mr. Butselaar's children. They did not
maintain a close relationship with their biological father following their parents' divorce and
describe how they have long considered Mr. Butselaar in that role. Ms. Nettekoven writes:

                 Frank came into my life when I was about twelve years old [ ... ] and
                 we becan1e close ve1y fast. Not speaking to my own (biological)
                 father ve1y often, it was nice having Frank around taking on that
                 role, but not in a misplaced way. He showed up for my school plays,
                 he was there at my graduations, he went with me on parent-days
                 from my sorority, he came to pick me up in Amsterdam when I was
                 sick: all things my own father did not do. [ ... ] [he] always wanting
                 to take care of us, even though we were old enough to do certain
                 things ourselves. He insisted on preparing all of our lunches in the
                 morning for example. He was always thinking about how to make
                 us happy. [ . .. ] [and] never treated me or my brother as stepchildren.

Ex. A-8.

         Ms. Nettekoven's brother Timothy echoes her sentiments, recalling that Mr. Butselaar
"gave [him] the attention and guidance [he] needed" and "taught me the life lessons my real father
didn' t, from understanding relationships, sports, and work to simply enjoying life and having fun."
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Ex. A-19. Mr. Nettekoven notes that Mr. Butselaar "always made an effo1t to create meaningful
expetiences for others[,]" such as when he prepared a three-course dinner for Mr. Nettekoven and
15 friends to celebrate his 21st bitthday. Id. He recalls how Mr. Butselaar "took care of eve1y detail
to ensure it was a perfect celebration [and] even gave a heartfelt speech that brought me to tears."
Mr. Nettekoven writes that he will "always be thankful" for the "immeasmable impact" Mr.
Butselaar has had "on shaping the person [he is] today." Id. Even Ms. Pesch's brother Jeroen
considers hitnself "extremely lucky" that Mr. Butselaar came into theit· lives and for his brother-
in-law's "never-ending effo1ts to 'merge' his own two children with the children of my sister and
even with my children." Ex. A-2. Mr. Pesche also observed that Mr. Butselaar "really took up the
role of son-in-law[,] which was highly appreciated by [his] parents." Id.

           Mr. Butselaar's culinary prowess is widely known among his family and friends. His son
Philip describes his father's "deep passion for cooking and [...] joy in preparing meals for his loved
ones." Ex. A-20. Mr. Butselaar's sister Margit comments that "[h]is annual Christmas dinners are
our best memories" (Ex. A-3), and her husband, Paul Roem, simply describes them as "legenda1y."
Ex. A-21. Ms. Roem, like many, describes her brother as "a real family man," noting the care he
took of their father, who passed away in 2016 after a 7-year-long battle with acute leukemia. Ex.
A-3. She writes, "My father often had to go to the hospital suddenly [ ... ] [and] could always call
Frank for that" even though " [m]y parents and Frank lived an hour away from each other, and the
hospital was also half an hour away." Id. She adds that Mr. Butselaar "always came right away
[ . ..] [y]ou can't wish for a better son[ . ..]." Id.

        Kees Fontein has been Mr. Butselaar's neighbor for nearly twenty years, during which he
observed Mr. Butselaar to be a "pleasant, modest and hardworking individual" who "live[d] for
breaks with his family[ ...]." Ex. A-22. He adds that Mr. Butselaar has "nothing ostentatious," and
notes that whenever they went to theit· "modest" holiday home in Italy - one "ve1y much like
many Dutch families have [ ...] to escape the often miserable local weather ciI·ctlillStances[,]" -
they drove in one of the "slightly used second-hand cars they owned [ . . .]." Mr. Fontein's
comments on Mr. Butselaar's lifestyle underscore a message expressed by his fo1mer colleagues
and clients - that he is not motivated by financial gain or the desire to elevate his lifestyle but
because he has a passion for his work.

         Mr. Butselaar's friends, family, and former colleagues describe feeling stunned upon
learning that he pled guilty in this case and express that it has not altered their opinion of him. Ms.
Wijnbergen writes that the "revelation came as a profound shock" because she has "always
believed in his good hea1t, his genuine care for his clients, and his innocence." Ex. A-15. She adds
that "even now," she "continue[s] to believe in his integrity and the values he has always stood
for." Id. Mr. Pesch remarked that "the concept of Frank pleading guilty of a crime is just as unreal
as Frank being accused of a crime," adding that it "does not affect [his] personal opinion about
[him] at all." Ex. A-2. Ms. Tissen finds this case "difficult to understand and deeply shocking
because Frank has always been sincere, careful, and protective of his family, friends, and
colleagues." Ex. A-14. Ms. Wijffels also felt "en01mous surp1ise" at the news because she views
Mr. Butselaar "as an honest professional" who was "dete1mined to prove his innocence." Ex. A-
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16. She believes that his decision to plead guilty was "what he had to do to keep a chance of
smv iving this honible situation." Id.

        Dennis Bouland, a friend since university and pa1t of Mr. Butselaar' s weekly squash group,
also "didn't expect" this result but notes that it "does not change [his] perception of Frank as a
person nor[ ... ] [his] friendship with him." Ex. A-23. Another university friend, Jaap Claessens,
echoes that sentiment: "[I]t has been a great shock [ ... ] I could never imagine this would happen
to him[ . .. ] I have always known Frank as a ve1y honest, reliable person." Ex. A-24. "I [have]
know[n] Frank over 35 years," writes his friend Peter Klessens, "and I never could imagine that
this gentle, caring person, who helped so many people, is guilty." Ex. A-25.

                                                       III.

                           The Plea Agreement and Sentencing Guidelines

        A. Mr. Butselaar's Plea Agreement

        Mr. Butselaar pleaded guilty pursuant to a Plea Agreement dated November 14, 2024 (the
"Agreement"), to one count of aiding and assisting in the preparation of a false and fraudulent U.S.
tax return in violation of 26 U.S.C. § 7206(2) (Count Two of the Superseding Indictment) relating
to the filing of Nick van de Wall's individual U.S. return for the tax year 2013. The offense of
conviction has a statutmy maximum sentence of 36 months imprisonment. For purposes of the
Guidelines calculation, the parties stipulated to a tax loss greater than $550,000, yielding a base
offense level of 20. A total of 4 levels were added because the offense involved sophisticated
means and because it involved the abuse of a position of tmst or special skill under U.S.S.G §
3Tl.l (b)(2) and§ 3Bl.3, respectively. Two levels are removed because Mr. Butselaar qualifies as
a zero-point offender under U.S. S. G § 4C 1.1. Consequently, the final adjusted offense level is 22,
which yields a range of 41-51 months' imprisonment. 6 In accordance with U.S.S.G § 5Gl. l (a),
Mr. Butselaar' s Guidelines range is 36 months, the statuto1y maximum sentence.

         Mr. Butselaar will have se1ved approximately 20 months of incarceration at the time of
sentencing. This does not include the period of home incarceration in Italy that sharply restricted
his life, although it is not automatically credited.

        B. The Offense Conduct

       Frank Butselaar is prepared to stand before the Comt to be sentenced for his guilty plea to
Count Two of the superseding indictment. As Your Honor is well aware, the Government offered
Mr. Butselaar the oppo1tunity to plead to this limited conduct mid-trial, before resting its case and




6
 The Agreement stipulates that, should the Cowt find that the tax filings related to Tijs Ve1w est between 2012 and
2017 are relevant conduct, the base offense level is 28 and a total adjusted offense level of 30 is applicable.
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before the defense presented evidence. It extended the ultimate offer as the jmy anived at the
comthouse to continue the proceedings.

      Pursuant to a plea agreement and allocution negotiated while the trial proceeded that
morning, Mr. Butselaar acknowledged to the Comt under oath that

                  On or about Janua1y 20, 2015, Frank Butselaar willfully aided and
                  assisted in the filing of a materially false tax retmn for Nick van de
                  Wall, p/f/a 'Afro·ack' for tax ear 2013. In <loin so Butselaar
                          with
                             that e retmn or t at year wou              e 1 e wit out
                           g overseas income that they all knew should othe1wise have
                 -been reported.

       See Transcript of Plea, 11/14/24 at 23: 17-24; see also, Agreement at fn. l (memorializing
the agreed-upon aUocution between the government and Mr. Butselaar). Mr. Butselaar accepts
responsibility for this conduct.

         There is relevance in the histmy of this investigation and prosecution. Although the
government's discove1y production indicated that a third party was the prima1y target of its
investigation - literally the "name on the file" - and the government repeatedly referenced the
collaboration of numerous co-conspirators, Mr. Butselaar was the only party charged. Upon Mr.
Butselaar's an est in Italy on or about July 14, 2023, the government issued a press release titled,
"International Tax Advisor Anested For Helping To Conceal Over $100 Million of Income for
High-Net-Wmth U.S. Advisors," in which it described a sprawling scheme involving co-
conspirators over several years. 7 The government pressed for Mr. Butselaar's incarceration abroad
and upon his extradition to the United States in the pre-trial phase of its prosecution, and its basis
for extradition centered on the extraditable offense of conspiracy. Yet when it fashioned the mid-
trial plea offer to exit the prosecution, the government abandoned the top count in the superseding
indictment alleging a conspiracy and the three leading counts concerning the tax filings of Tijs
Ve1west p/k/a "Tiesto" (the "Ve1west Allegations").

        The government's discretion to offer Mr. Butselaar this plea was not unfettered. The Justice
Manual emphasizes that the government should require that a defendant enter a guilty plea to "the
most serious readily provable offense consistent with the nature and extent of his/her criminal
conduct." U.S. Justice Manual, Section 9-27430 ("Selecting Plea Agreement Charges"). The
Justice Manual fu1ther authorizes the government in tax prosecutions only to offer pleas to "major
counts" without seeking prior approval from the Depaitment of Justice Tax Division. See U.S.
Justice Manual, Section 6-4.3 10 ("Major Count Policy in Plea Agreements"). Under the "Major



1
 See "International Tax Advisor Alrnsted For Helping To Conceal Over $100 Million Of Income For High-Net-Worth
U.S. Taxpayers." Available at https://bit.ly/3PScx8a
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Count Policy," the government voluntarily walked away from the four most serious counts in its
indictment against Mr. Butselaar, instead offering him a plea to its most minor count.

         Relieved of its burden of proving the four counts that it sunendered, the government almost
immediately pivoted. In connection with Mr. Butselaar's allocution itself, the government offered
the Court a lengthy, pre-prepared description of the alleged conduct it might prove at trial - a
recitation rich with irony given that it had just abandoned its prerogative to prove the lion 's share
of its conduct. The govel1l111ent's willingness to forgo the remainder of its prosecution in offering
Mr. Butselaar this plea was then contradicted by its subsequent public relations campaign. Several
days later, the government issued a press release intentionally exaggerating Mr. Butselaar 's plea. 8
Statements attributed to the then-US. Attorney in the press release were demonstrnbly false and
in disregard of the Court's admonition that any press release issued be accurate. Mr. Butselaar's
counsel expressed concerns about misleading press releases from the government.

        The government's attempt to sanction Mr. Butselaar through the backdoor for conduct that
it dese1ted did not stop with its unfortunate press release. Defense counsel was surprised to read
the Probation Depa1t ment's prelimina1y pre-sentence repo1t , which included a lengthy, adjective-
laden description provided to it by the government again of the alleged conduct that it declined to
prove at trial. The government offered the Probation Department a carefully and misleadingly
curated selection of exhibits and demonstratives, willfully excluding trial evidence and other Brady
material that unde1mined its far-reaching allegations. Simply put, the govel1l111ent seeks to press
at sentencing the conduct that it charged and had ample opp01tunity to prove at trial but chose not
to pursue. This strategic but unprincipled use of the related conduct sentencing paradigm should
be rejected.

       For the foregoing reasons, Mr. Butselaar should be sentenced based on the conduct
underlying the offense of conviction.

         C. Acceptance of Responsibility

        Mr. Butselaar should be granted a two-point reduction to his Sentencing Guidelines offense
level based on his acceptance of responsibility. As the Court is well aware, United States
Sentencing Guidelines Section 3El .1 pe1mits Mr. Butselaar's offense level to be decreased by two
levels "if the defendant clearly demonstrates acceptance ofresponsibility for his offense." While
the government and counsel for Mr. Butselaar had prelimina1y plea discussions, Mr. Butselaar
anived at comt on November 14, 2024, prepared to continue his defense. The government initiated
new plea discussions that morning, and Mr. Butselaar decided to accept their new offer and forgo
his defense.




8 See "International Tax Advisor Pleads Guilty To Tax Fraud In Conceit With U.S.-Based CPAs." Available at

https://bit.ly/4jE99ew.
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        None of the conditions that would suppo1t opposition by the Government to this adjustment
exist. The plea agreement states that:

                  "fnlothing in this Agreement limits the right of the Government to
                  seek denial of the adjustment for acceptance of responsibility, see
                  U.S.S.G. 3El.1, regardless of any stipulation set forth above, tithe
                  def endant fails clearzv to demonstrate acceptance ofresponsibHity,
                  to the satisfaction of the Government, through the defendant 's
                  allocution and subsequent conduct prior to the imposition of
                  sentence."

Plea Agreement at 4 (emphasis supplied).

        First, Mr. Butselaar's allocution met the satisfaction of the Government. The Government
insisted on the language of Mr. Butselaar's allocution as a condition of their plea offer, and Mr.
Butselaar complied. Second, Mr. Butselaar's conduct before the imposition of sentence has been
without incident. Mr. Butselaar has been and will continue to be a model inmate in the interregnum
between his plea and sentencing. Accordingly, Mr. Butselaar should receive an additional two-
point reduction to his Sentencing Guidelines range.

         D. Restitution

         1. No restitution is due or owing to the IRS from the count ofconviction.

        Mr. Butselaar's plea to Count Two regarding the 2013 van der Wall tax return does not
require the payment of any restitution because there are no tax obligations, financial or othe1wise,
outstanding associated with that filing. Restitution is only authorized where there has been an
actual loss to an identified victim. See United States v. Lacey, 699 F.3d 710, 721 (2d Cir. 2012)
("restitution is authorized [...] only for the victim's actual loss."). In this instance, the Internal
Revenue Service is the sole identifiable victim of the conduct as confumed b the PSR which




       Accordingly, the absence of any amount due or owing to the IRS based on the 2013 van de
Wall tax filing precludes any restih1tion order in connection with Mr. Butselaar's guilty plea.

         2. Restitution for alleged relevant conduct is unlcn11f ul

       The defense anticipates that the government will allege that Butselaar's sentencing should
account for as relevant conduct the allegations concerning the Ve1west tax filings that it abandoned
mid-trial (the "Verwest Allegations"). Butselaar did not plead to, nor was he convicted separately,
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of any misconduct or wrongdoing relating to the Ve1west Allegations. Nonetheless, the defense
anticipates that the government will seek restitution, which it claims is connected to its Ve1west
Allegations. However, binding Supreme Comt precedent precludes any consideration of the
Ve1west Allegations to impose restitution at sentencing. Accordingly, any claim by the
government for restitution in connection with the Ve1west tax filings must be denied as a matter
of law.

        The Supreme Comt has held that restitution is authorized only for "the loss caused by the
specific conduct that is the basis of the offense of conviction." Hughey v. United States, 495 U.S.
411, 413 (1990); see also United States. v. Oladijerni, 463 F.3d 152, 158 (2d Cir. 2006) (applying
the Supreme Comt determination in Hughey "that the comts lacked authority, under the relevant
statute, to order a defendant, who was charged with multiple offenses but pleaded guilty only to
one, to make restitution for losses arising from related offenses to which he had not pleaded
guilty."); United States v. Angel Pereda, No. 21-CR-800-LTS, ECF. No. 39, 3 (Oct. 18, 2022)
(Chief Judge Swain, J.). The Supreme Court in Hughey found the statute's language indicative of
Congressional intent that "the loss caused by the conduct underlying the offense of conviction
establishes the outer limits of the restitution order." Hughey, 495 U.S. at 420. The Second Circuit
has applied Hughey to detemline that "the comt may not order restitution for ' loss[es] caused by
relevant conduct' under the Guidelines[.]" United States v. Sullivan, 118 F.4th 170, 232 (2d Cir.
2024) (quoting United States v. Vilar, 729 F.3d 62, 97 (2d Cir. 2013).

        While the Comt may include relevant conduct to detemline the applicable offense level, it
is required to "separately an alyze loss with respect to the restih1tion order because a comt 's power
to order restitution is limited to actual loss." United States v. Carboni, 204 F.3d 39, 47 (2d Cir.
2000) (finding reversible e1rnr where the district court ordered restitution in the same amount used
in offense-level calculations that likely included potential loss) (citing United States v. Germosen,
139 F.3d 120, 130 (2d Cir.1998) (citing, inter alia, 18 U.S.C. § 3663(a)(l)(A)), cert. denied, 525
U.S. 1083 (1999) (emphasis supplied).

       Accordingly, the Comt is baned from deriving any restitution award from impe1m issible
"relevant conduct" extraneous to Mr. Butselaar' s conviction pursuant to Count Two.
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                                                      IV.

                                                   Conclusion

        In light of the foregoing, we respectfully ask the Comt to impose a sentence of time served.
We submit that Mr. Butselaar has been sufficiently punished in this case, and the interests ofjustice
are not further promoted by sentencing him to a few additional months of incarceration. He should
be released so that he can reunite with his wife and children in the Netherlands, and they can begin
the difficult work of restoring some semblance of family life.




                                                            Respectfully submitted,




                                                            Kerry A Lawrence
                                                            SamidhGuha
                                                            Diane M. Fischer

                                                            Attorneys f or Defendant Frank Butselaar




cc: All Counsel of Record
